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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 24-cv-20480-ALTMAN

  DOMINIK KARNAS, et al.,

         Plaintiffs,
  v.

  MCCARTER & ENGLISH, LLP, et al.,

        Defendants.
  ________________________________/

                                              ORDER

         On February 28, 2024, we consolidated the above-styled action with two related cases, Karnas

  v. Ketchum, Inc., No. 24-cv-20534-RKA, and Karnas v. Barkley, No. 24-cv-20535-RKA. See Order

  Consolidating Cases [ECF No. 8] ¶ 1. We also ordered that this case be stayed pending our

  adjudication of the Defendants’ Motion to Dismiss [ECF No. 189] in the related action, Karnas v.

  Cuban, No. 22-cv-22538-RKA. Id. ¶ 3.

         Accordingly, the Clerk of Court is directed to CLOSE this case for administrative purposes.

  All deadlines are TERMINATED.

         DONE AND ORDERED in the Southern District of Florida on March 6, 2024.




                                                       _________________________________
                                                       ROY K. ALTMAN
                                                       UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
